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U.s. DISTRICT COURT F l L E D

UNITED STATES D|STR|CT COURT
Dlsrlucr or coLoRADo °ENVER» °O'~ORADO

At Denver MAY 18 2018

JEFFREY P. covaeLL

, CLERK

UNITED STATES, )No. 18-¢1'-28-RM -`__._
PLAn\ITIFF )

) Mandatory J udicial Notice And
v. ) Z“d Offer Of Proof

Craig R. Walcott, )
Defendant.` )

 

Mandatory Jlfdicial Notice And Offer Of Proof

 

The Court is incomplete, the DOJ lacks jurisdiction over the alleged offense.
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Once challenged, jurisdiction must be proven:

Defendant provided evidenée from the Orth case on the 2nd circuit which proved the DOJ can not prove
jurisdiction in Defendant's motions. No one has come forward to prove him wrong that,

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1) There is no statute that names defendant under 26 USC 1.1, only in regulation is he mentioned
2) Nothing makes Defendant liable under 26 USC
3) Sec 83 reads ANY money or property paid is a cost.

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Their misrepresentation stunt is intentional, it is a violation of the 16th amendment, their only rebuttal is
to cry “frivolous” when in fact Defendant's motions are not his own words but rather only what the
courts have said in case law and Superior Court findings, are the courts “frivolous” in the mind of the
DOJ ? j

Jurisdiction has been challenged and no one has responded The Dept. of Justice has had weeks to show
a statute that names the Defendant and has not produced one scintilla of evidence, there is none on the
record, No statute, No offense, No jurisdiction

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By asserting an alleged tax ;deficiency the DOJ moved cost and exempted property into profit, a stunt
which the executive branch did Without the force of law and in violation of the 16th Amendrnent. The
IRS is intentionally demanding more sums than Defendant owes, Which makes this no more than
extortion and racketeering! . No deficiency, No offense, No jurisdiction

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Once challenged, proof of jurisdiction is a burden upon the party asserting it. [1]

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See KVOS v. Associated Press, 299 U.S. 269, 57 S.Ct. 197, 200, 31 L.Ed. 183 (1936): “...[W]here the
allegations . .are challenged by the defendant in an appropriate manner, the plaintiff must support them
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by competent proof.” Also:- “[I]t is now settled that when there is an issue as to the sufficiency of
jurisdictional amount, the burden of proving jurisdiction is on the party asserting it. City of Lauden,
Okla. v. Chapman, 257 F.2d 601 (10th Cir.); McNutt v. General Motors Acceptance Corp., 289 U.S.
178, 56 S.Ct. 780, 80 L.Ed. 1135. Further more, statutes conferring jurisdiction on federal courts are to
be strictly construed and doubts resolved against federal court’s jurisdiction Aetna Ins. Co. v. Chicago
R.I. & P.R.R., 229 F.2d 58_4 (10th Cir.); Hely v. Ratta, 292 U.S. 263, 54 S.Ct. 700, 78 L.Ed. 1248.”
From F & S Contr. Co. v. lensen, 337 F.2d 160, 161-162, (10th Cir.1963).

I offer as additional proof the two Verified Criminal Complaints which I filed as required under 18
USC 4 to notify competent authorities of felony Violations by the IRS and DOJ which include 18 USC
3, 4, 241, 242, 876 (d), 880, 1341, 1343, 1623, 1951 (a), 1962 (c) and (d) and 26 USC 7214. These
complaints were mailed toithe Grand Jury on 3 separate occasions, the DOJ can't and never have
refuted these violations, their actions continue unabated and still no one in authority Will act on the
citizen’s behalf, and all the while Govemment remains silent. Shades of Harry Truman.

"Dictatorship is founded on the doctrine that the individual amounts to nothing the State is the
only thing that coun ”

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“If we don't have a proper fundamental moral background, we will finally end up With a totalitarian
government which does not believe in rights for anybody except the State!"

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By remaining silent the IRS and DOJ know I have broken no law. The charging statute was maliciously
used to violate my Rights and liberty, this Consgira<_:y Against Rights, perpetrated by the IRS and
DOJ including Ms Gurgel`, Mr Kameros, Mr Langston and others Ibelieve is nothing more than an
attempted kidnapping, A CAPITAL OFFENSE ! Worse yet their remaining silent appears to be a tactic
simply to make the court c'omplicit. These tyrants have forsaken ethical and moral beliefs. They believe
that only force makes right Defendant’s effort to resist and overcome this tyranny is essentially a moral
effort and his continued effort to uphold the Oath taken as an Army Officer. The Court deserves better, I
deserve better and the Country deserves better.

Harry S Truman

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I reiterate supra that the D_OJ has not rebutted that under 4 USC 72 they have zero authority to be here
or even talk to me without. written authority of congress. Therefore this indictment, is again, without
jurisdiction ‘

The swamp is wide and deep, the DOJ has a lifetimes worth of work to clean up their own house
without trying to make criminals out of innocent people Who have broken no laws. They should look to
fenner Intemal Revenue Manual Chapter 1100 Organization and Staffing, section 1132.75 which
stated: The Crirninal Investigation Division enforces the criminal statutes applicable to income, estate,
gift, employment, and excise tax laws involving United States ciu'zens residing in foreign countries
and nonresident aliens subiect to Federal income tax filing requirements, Defendant does not fall
into those category’s ! z

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Jurisdictional defects can include the unconstitutionality of the charging statute as applied to a criminal
defendant’s conduct. (See 118 v. Mercer, 133 F.Supp. 288, 291 (CA9 1955); US v. Capere]l, 938 F.2d
975, 977 (CA9 1991) (citing US v. Montilla, 870 F.zd 549 (cAs 1989) amended at 907 F.zd 115 (cAs
1990)). “Where a court failed to observe safeguards, it amounted to denial of due process of law, court
is deprived of juris”. Merrit V Hunter, C.A. Kansas 170 F2d 739.

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The Indictrnent presented by the DOJ is defective, section 7201 and 7203 are penalty statutes that the
government is skipping right over Where they attempt to identify an actual violation of law to charge
Defendant with. They intentionally skip right over the requirement to explain what actual statutory
violation has occurred, and leap right to the penalty phase. Defendant has the right to demand to know
What the underlying statutory infraction is that has caused and justified the invocation of this penalty
statute. What statutory violations the IRS has based the penalty charge on? Obviously by their silence
neither the DOJ nor the IRS can site a statutory violation upon Which the penalty` rs based, given the
facts herein. t

A federal court is required to determine jurisdiction sua sponte. (See City of Kenosha v. Bruno,
412 US 507, 511, 37 L.Ed`.2d 109, 93 S.Ct. 2222 (1973); Washington Local v. Intemational
Brotherhood of Boilermakers, 621 F.2d 1032, 1033 (CA9 1980); Hoohi v. Ariyoshi, 741 F.2d 1169
(CA9 1984); Arizona Life v. Stanton, 515 F. 3d 956, 962 (CA9 2008)). A court must determine whether
jurisdiction exists pursuant to Article III of the U. S. Constitution, and it must dismiss an action if
jurisdiction' 1s lacking. (See Tirnbisha Shoshone Tiibe v. Kennedy, 687 F. Supp. 2d 1171 (CA9 2009);
Fleck &Assoc. v. City of Phoenix, 471 F. 3d 1100 (CA9 2006)). The burden of proving jurisdiction rs
upon the party asserting it (See Sissoko v. Rocha, 412 F. 3d 1021 (CA9 2004)). Because jurisdiction
goes to the power of the court to act, jurisdictional defects cannot be waived and, for the same reason,
are not subject to harmless error analysis. (See United States v. Navarro, 959 F. Supp. 1273 (CA9 1977);
US v. Ratigan, 351 F. 3d 957 (CA9 2003))

A district court by definition abuses its discretion when it makes an error of law. (See Koon v.
US, 518 US 81, 100 (1996) defendant in Rodney King beating); Strauss v. Comm’r, 635 F.3d 1135,
1137 (CA9 2011 (citing Koon, Id.)). Error is plain where it is “clear and obvious.” (See US v. Recio,
371 F.3d 1093, 1100 (CA9 2004) (quoting US v. Fuchs, 218 F.3d 957, 962 (CA9 2000)). A plea of
guilty does not Waive a claim that the charge rs one which the government constitutionale may not
prosecute. (See US v. Cortez, 973 F. 2d 764, 766- 67 (CA9 1992) (citing Menna v. New York, 423 US
61, 62 (1975), and Blackledge v. Perry, 417 US 20, 21 (1974)). The exception is derived from the fact
that even though the guilty plea removes the question of the defendant’ s guilt from the case, the issue
of whether the government had the power to bring the charge at all still remains. (See Cortez at 767,
citing Menna at 62). “Once jurisdiction 15 challenged, the court cannot proceed when it clearly appears
that the court lacks jurisdiction, the court has no authority to reach merits, but rather, should dismiss
the action”. Melo V US. 505 F2d 1026

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Additiona]ly I reaffirm my previously filed dismissal of Court Appointed Council Mr Borstein on the
grounds that he rs ineffective as towards my defense for lack of knowledge 1n the areas of tax law that
base my defense, subjects he has never heard before this case and which even the top DOJ attorneys
can ’t explain. His forced continuance in the mater would be an effective “Rush to Judgment”

Mr Borstein cannot and does not represent me.

Your Honor, tear down this indictment!

Craig R. Walcott

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j CERTIFICATE OF SERVICE
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I, Craig R Walcott, certify that a true copy of the attached Mandatory Judicial Notice and ojj%r
of proof has been served via Mail to the following:

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Richard E. Zuckerman;'
~ U.S. Depa.rtment of Justice
950 Pennsylvania Avenue, NW

Washington, DC 20530-0001

Andrew J. Kameros l

U.S. Department of Justice

950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

Cr . Walcott
Mailing address

590 Hwy 105 #123
Monument CO. 80132

 

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May 17th 2018

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